Dear Secretary Blunt:
This letter is in response to your request for our review under Sections 116.332 and 116.334, RSMo 1986, for sufficiency as to form of an initiative petition relating to the amendment of various sections of the Missouri Constitution and, specifically, Sections 17, 20 and 22 of Article X. A copy of the initiative petition and the proposed amendment which you submitted to this office on July 9, 1987, are attached for reference.
We approve the petition as to form. However, since the Secretary of State has been given final approval or rejection authority under Section 116.332, our approval of the form of the petition does not preclude you from rejecting the petition.
Inasmuch as our review is simply for the purpose of determining sufficiency as to form, the fact that we do not reject the petition is not to be construed as a determination that the petition is sufficient as to substance. See Moorev. Brown, 165 S.W.2d 657 (Mo. banc 1942). Likewise, since our review is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view respecting the adequacy or inadequacy of the petition generally or of the objectives of its proponents.
Very truly yours,
                                  WILLIAM L. WEBSTER Attorney General
Enclosure